Case 0:01-cv-02086-DWF-AJB                 Document 368-2          Filed 09/15/2004         Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                                        FOURTH DIVISION


  RODERICK ARNOLD, et al.,                         )    CIVIL ACTION NO. 01-CV-2086
  on behalf of themselves and all others           )    (DWF/AJB)
  similarly situated,                              )
                                                   )    CLASS ACTION
                   Plaintiffs,                     )
                                                   )
  v.                                               )
                                                   )
  CARGILL, INCORPORATED,                           )
                                                   )
                   Defendant.                      )


                         NOTIFICATION OF CONVENTIONAL FILING

                                                   OF

            APPENDIX 9: UNREPORTED LEGAL AND FACTUAL AUTHORITY



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 ___ Other (description):


 Dated: July 19, 2004               SPRENGER & LANG, PLLC




                                By: s/Lawrence P. Schaefer
                                    Lawrence Schaefer (MN No. 195583)
                                    Susan M. Coler (MN No. 217621)
                                    Teresa K. Patton (MN No. 205679)
                                    David L. Ramp (MN No. 89357)
                                    Mara R. Thompson (MN No. 196125)
                                    Sprenger & Lang, PLLC
                                    325 Ridgewood Avenue
                                    Minneapolis, MN 55403
                                    (612) 871-8910
                                    (612) 871-9270 (facsimile)

                                    Michael D. Lieder (DC Bar No. 444273)
                                    Steven M. Sprenger (DC Bar No. 418736)
                                    1614 20th Street, N.W.
                                    Washington, DC 20009-1001
                                    (202) 265-8010

                                    COUNSEL FOR PLAINTIFFS




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